                 Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 1 of 14




 1   SCHNEBERG LAW PC
     Kyle P. Schneberg, SBN 239325
 2   kyle@schneberglaw.com
     3828 W. Carson St., Ste. 100
 3   Torrance, CA 90503
     (310) 359-9090
 4
     BOHRER & LUKEMAN
 5   Abram I. Bohrer, NY SBN 2447530
     David A. Zeitzoff, NY SBN 5309224
 6   5 Columbus Circle, Suite 1501
     New York, New York 10019
 7   (212) 406-4232
     Forthcoming Pro Hac Vice Application
 8
     Attorneys for Plaintiff EILEEN VINES
 9
                                  UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
     EILEEN VINES,                                  Case No.:
12
                    Plaintiff,
13                                                  COMPLAINT AND DEMAND FOR JURY
     vs.                                            TRIAL
14
     TURK HAVA YOLLARI ANONIM
15   ORTAKLIGI, d/b/a TURKISH AIRLINES and
     TURKISH AIRLINES, INC.,
16
                    Defendants.
17

18          1.      The Plaintiff, EILEEN VINES, by her attorneys, SCHNEBERG LAW PC, and

19   BOHRER & LUKEMAN, as and for her complaint against the Defendant, TURK HAVA

20   YOLLARI ANONIM ORTAKLIGI, d/b/a TURKISH AIRLINES and TURKISH AIRLINES,
                                                   1
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 2 of 14




 1   INC. (“Defendants”), alleges the following upon information and belief:

 2                                    JURISDICTION AND VENUE

 3          2.      Subject matter jurisdiction of this Court is invoked pursuant to 28 U.S.C. Sec. 1331,

 4   insofar as a federal question is presented under the laws and treaties of the United States through

 5   Article 17 of the Convention for the Unification of Certain Rules Relating to International Carriage

 6   by Air, concluded at Montreal, Canada, on May 28, 1999 (“Montreal Convention”).

 7          3.      In personam jurisdiction and venue are proper in this district insofar as in or about

 8   September 5, 2021, Defendants, common carriers of passengers by air, had offices and transacted

 9   business within California; Defendants purposefully availed themselves of the privilege of

10   conducting activities within California; the contract of carriage which forms the basis for this cause

11   of action was sold in California and expressly incorporated the provisions of the Montreal

12   Convention; the travel which led to the events, actions, and omissions which form the basis of this

13   action originated and concluded in California; and this cause of action arises out of and/or relates

14   to Defendants’ contacts with California.

15          4.      Venue is further proper in this judicial district insofar as a number of nonparty

16   witnesses and medical providers reside and are located within this judicial district.

17                                    DIVISIONAL ASSIGNMENT

18          5.      Pursuant to Civil L.R. 3-2(d), assignment of this matter is appropriate for the San

19   Francisco Division or Oakland Division, because the circumstances of the action arise in the

20   county of San Francisco.
                                                  2
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 3 of 14




 1                                               THE PARTIES

 2          6.       Plaintiff EILEEN VINES resides in Santa Clara, California.

 3          7.       At all times mentioned herein, Defendant TURK HAVA YOLLARI ANONIM

 4   ORTAKLIGI d/b/a TURKISH AIRLINES is a foreign corporation.

 5          8.       At all times mentioned herein, Defendant TURKISH AIRLINES, INC. is a foreign

 6   corporation authorized to do business in the State of California.

 7          9.       In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

 8   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES operated one or more regularly scheduled

 9   daily flights to and from the State of California.

10          10.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

11   operated one or more regularly scheduled daily flights to and from the State of California.

12          11.      In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

13   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES sold airline tickets in, operated aircraft to

14   and from, shipped cargo to and from, transacted business within, and thus derived revenue on a

15   daily basis from the State of California.

16          12.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

17   sold airline tickets in, operated aircraft to and from, shipped cargo to and from, transacted business

18   within, and thus derived revenue on a daily basis from the State of California.

19          13.      In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

20   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES advertised the sale of commercial airline
                                                  3
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 4 of 14




 1   travel in various mediums within the State of California.

 2          14.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

 3   advertised the sale of commercial airline travel in various mediums within the State of California.

 4          15.      In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

 5   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES purposefully availed itself of the privilege

 6   of conducting activities within the State of California.

 7          16.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

 8   purposefully availed itself of the privilege of conducting activities within the State of California.

 9          17.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

10   maintained multiple employees within the State of California.

11          18.      In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

12   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES maintained multiple employees within the

13   State of California.

14          19.      In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

15   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES maintained a ticketing counter within the

16   State of California in the International Terminal of San Francisco International Airport (SFO) and

17   Los Angeles International Airport (LAX).

18          20.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

19   maintained a ticketing counter within the State of California in the International Terminal of San

20   Francisco International Airport (SFO) and Los Angeles International Airport (LAX).
                                                  4
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                   Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 5 of 14




 1           21.      In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

 2   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES purchased aviation fuel, catering meals and

 3   other aircraft services and supplies on a daily basis in furtherance of its service of its international

 4   commercial airline passenger flights.

 5           22.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

 6   purchased aviation fuel, catering meals, and other aircraft services and supplies on a daily basis in

 7   furtherance of its service of its international commercial airline passenger flights.

 8           23.      In or about the time of the incident herein, Defendant TURK HAVA YOLLARI

 9   ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES rented offices or otherwise occupied real

10   estate within the State of California.

11           24.      In or about the time of the incident herein, Defendant TURKISH AIRLINES, INC.

12   rented offices or otherwise occupied real estate within the State of California.

13           25.      The subject accident and this cause of action arises out of Defendants’ California-

14   based contacts.

15           26.      Upon information and belief, Defendant TURK HAVA YOLLARI ANONIM

16   ORTAKLIGI d/b/a TURKISH AIRLINES and Defendant TURKISH AIRLINES, INC. share

17   common ownership, management, employees, shareholders, members, capital, resources, officers,

18   and/or directors.

19                                       STATEMENT OF FACTS

20           27.      On or about September 5, 2021, at or near the time of the events complained of
                                                  5
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                   Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 6 of 14




 1   herein, Defendant TURK HAVA YOLLARI ANONIM ORTAKLIGI d/b/a TURKISH

 2   AIRLINES was and is a common carrier engaged in the business of transporting passengers for

 3   hire by air.

 4           28.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

 5   herein, on or about September 5, 2021, at or near the time of the events complained of herein,

 6   Defendant TURKISH AIRLINES, INC. was and is a common carrier engaged in the business of

 7   transporting passengers for hire by air.

 8           29.      In furtherance of said business, Defendant TURK HAVA YOLLARI ANONIM

 9   ORTAKLIGI d/b/a TURKISH AIRLINES operates multiple regularly scheduled commercial

10   airline flights to and from the State of California.

11           30.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

12   herein, in furtherance of said business, Defendant TURKISH AIRLINES, INC. operates multiple

13   regularly scheduled commercial airline flights to and from the State of California.

14           31.      On or about September 5, 2021, Defendants operated at least two flights per day

15   both to and from both San Francisco International Airport (SFO) and Los Angeles International

16   Airport in California.

17           32.      Said flights are typically operated on Boeing or Airbus jumbo jets with the capacity

18   to carry over 300 passengers per flight, carry thousands of gallons of jet fuel, and transport

19   thousands of pieces of baggage and cargo all of which, upon information and belief, generate costs

20   and revenues within California worth millions of Dollars per month.
                                                   6
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                   Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 7 of 14




 1           33.      Plaintiff’s travel, pursuant to the contract of carriage which forms the basis for this

 2   cause of action (“the contract of carriage”) originated and concluded in the State of California, and

 3   within this judicial district.

 4           34.      Plaintiff’s ticket for passage which comprises the contract of carriage was

 5   purchased in the State of California.

 6           35.      On or about September 5, 2021, Plaintiff was traveling aboard Defendant TURK

 7   HAVA YOLLARI ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES’s aircraft with a final

 8   destination of San Francisco, California.

 9           36.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

10   herein, on or about September 5, 2021, Plaintiff was traveling aboard Defendant TURKISH

11   AIRLINES INC.’s aircraft with a final destination of San Francisco, California.

12           37.      Plaintiff’s contract of carriage required Plaintiff to stop in Istanbul, Turkey and

13   connect to another “Turkish Airlines” aircraft and flight to complete her trip to California.

14           38.      On or about September 5, 2021, Defendant TURK HAVA YOLLARI ANONIM

15   ORTAKLIGI d/b/a TURKISH AIRLINES owned, operated, and controlled a certain jet aircraft

16   (“the subject aircraft”) designated as Turkish Airlines Flight TK1086 from Podgorica Airport,

17   Podgorica, Montenegro (TGD) to Istanbul, Turkey (IST) (“the subject flight”).

18           39.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

19   herein, on or about September 5, 2021, Defendant TURKISH AIRLINES, INC. owned, operated,

20   and controlled a certain jet aircraft designated as Turkish Airlines Flight TK1086 from Podgorica
                                                   7
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 8 of 14




 1   Airport, Podgorica, Montenegro (TGD) to Istanbul, Turkey (IST).

 2          40.      On or about September 5, 2021, Plaintiff EILEEN VINES was a fare-paying

 3   passenger lawfully aboard Turkish Airlines Flight TK1086.

 4          41.      At the time of the accident complained of herein, Plaintiff EILEEN VINES was

 5   disembarking Turkish Airlines Flight TK1086 for a one-hour layover in Istanbul in order to

 6   connect to Turkish Airlines Flight 79 to San Francisco, California. (SFO)

 7          42.      On or about September 5, 2021, at the time of the accident complained of herein,

 8   Plaintiff’s intent was not to exit Istanbul Airport, but to proceed directly to another Turkish Airlines

 9   flight to return home to California.

10          43.      On or about September 5, 2021, and for some time prior thereto, Defendant TURK

11   HAVA YOLLARI ANONIM ORTAKLIGI d/b/a TURKISH AIRLINES owned, serviced,

12   maintained, repaired, and/or operated the subject aircraft.

13          44.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

14   herein, on or about September 5, 2021, and for some time prior thereto, Defendant TURKISH

15   AIRLINES, INC. owned, serviced, maintained, repaired, and/or operated the subject aircraft.

16          45.      It was the responsibility of Defendant TURK HAVA YOLLARI ANONIM

17   ORTAKLIGI d/b/a TURKISH AIRLINES to ensure the safety of its passengers as they

18   disembarked from the subject aircraft.

19          46.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

20   herein, it was the responsibility of Defendant TURKISH AIRLINES, INC. to ensure the safety of
                                                  8
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 9 of 14




 1   its passengers as they disembarked from the subject aircraft.

 2          47.      Passengers, including Plaintiff, disembarking Turkish Airlines Flight TK1086 did

 3   not deplane through a covered jetway directly into the airport terminal, but rather, were required

 4   to traverse portable airstairs placed adjacent to the rear of the aircraft that led them down to the

 5   tarmac. From there, it was contemplated that passengers, Plaintiff included, would either walk to

 6   the terminal or be loaded onto a tarmac bus for transport to the airport terminal.

 7          48.      Defendant TURK HAVA YOLLARI ANONIM ORTAKLIGI d/b/a TURKISH

 8   AIRLINES owned, operated, managed, serviced, repaired, maintained, supervised, or otherwise

 9   controlled the aforesaid portable airstairs.

10          49.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

11   herein, Defendant TURKISH AIRLINES, INC. owned, operated, managed, serviced, repaired,

12   maintained, supervised, or otherwise controlled the aforesaid portable airstairs.

13          50.      Pleaded in the alternative and without prejudice to anything pleaded in the contrary

14   herein, in the event that the aforesaid portable airstairs was owned or operated by an entity other

15   than Defendants, Defendants possessed a non-delegable duty to ensure that said staircase provided

16   a safe and proper means of ingress and egress to and from its aircraft and flight.

17          51.      In addition to their non-delegable duty to safely and securely operate the subject

18   aircraft and subject flight, and provide for the general health, safety and welfare of the passengers

19   aboard such aircraft and flights, Defendants’ employees, agents and servants were also responsible

20   to ensure a safe and proper boarding and disembarkation process of Defendants’ passenger flights.
                                                  9
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
               Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 10 of 14




 1          52.     In doing so, Defendants’ flight and cabin crew had a non-delegable duty to ensure

 2   that its passengers were provided with a safe method and mode of ingress and egress to and from

 3   Defendants’ aircraft and flights.

 4          53.     Therefore, Defendants’ flight and cabin crew members had a non-delegable duty to

 5   ensure that portable airstairs in use to disembark TK 1086 were safely and properly positioned for

 6   passengers to disembark whether or not said portable staircase was owned by Defendants.

 7          54.     Upon information and belief, Defendants also employed ground-based employees,

 8   agents, servants and contractors responsible for the safe and secure ground operations of their

 9   aircraft and flights, including, but not limited to the safe and secure boarding and disembarkation

10   of its passengers.

11          55.     Defendants’ ground-based employees were similarly responsible for the safe and

12   secure ground operations of their aircraft and flights, including, but not limited to the safe and

13   secure boarding and disembarkation of its passengers, and of TK 1086 in particular.

14          56.     Upon information and belief, Defendants also utilized the services of ground

15   service providers at Istanbul Airport to assist with, inter alia, the facilitation of ground services,

16   including assisting with, supervising or otherwise managing the boarding and disembarkation of

17   Defendants’ flights and aircraft.

18          57.     Pleaded in the alternative and without prejudice to anything stated herein to the

19   contrary, on September 5, 2021, said ground service providers assisted with, supervised, managed

20   or otherwise controlled the disembarkation process of TK 1086 and performed various functions
                                                 10
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
               Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 11 of 14




 1   therein, including but not limited to the deployment, positioning, adjustment, inspection, service,

 2   maintenance, care and oversight of the portable airstairs used in the disembarkation of said flight

 3   and aircraft.

 4           58.      Said ground service providers were employees, agents, servants, and/or contractors

 5   of Defendants.

 6           59.      Pleaded in the alternative and without prejudice to anything stated herein to the

 7   contrary, said ground service providers were Defendants’ agents and/or contractors insofar as they

 8   provided or performed a function essential to the Defendants’ performance of its contract of

 9   carriage thus making Defendants liable for their malfeasance.

10           60.      On September 5, 2021, while disembarking TK 1086, Plaintiff EILEEN VINES fell

11   while stepping from the aircraft onto the portable airstairs.

12           61.      On September 5, 2021, while disembarking TK 1086, Plaintiff EILEEN VINES fell

13   and was injured due to a dangerous and/or defective condition that existed on said portable airstairs

14   insofar as it malfunctioned, was improperly and/or negligently positioned for passengers exiting

15   the subject aircraft, was rendered slippery, or otherwise existed there and then in a dangerous and

16   hazardous manner.

17           62.      On September 5, 2021, said hazardous, dangerous and/or defective condition of the

18   portable airstairs, and Plaintiff’s fall and resulting injuries were caused by an accident, or namely,

19   an unexpected or unusual event or occurrence external to the Plaintiff, and not from the Plaintiff’s

20   internal reaction to the ordinary operation of the aircraft.
                                                 11
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
                 Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 12 of 14




 1           63.     On September 5, 2021, the condition of the walking surface and configuration of

 2   the portable airstairs across which Plaintiff was required to traverse in order to exit TK 1086, were

 3   unexpected and unusual and caused Plaintiff to slip and/or trip and fall.

 4           64.     On September 5, 2021, the design of, and manner in which said portable airstairs

 5   were stationed at, operated and utilized to disembark TK 1086 was unexpected and unusual, and

 6   caused her to fall and suffer injuries.

 7           65.     On September 5, 2021, Defendants, their employees’ agents, servants and

 8   contractors failed to warn passengers disembarking TK1086 and the Plaintiff in particular, of the

 9   portable airstairs’ dangerous and defective condition.

10           66.     Said failure to warn passengers disembarking TK1086 and the Plaintiff in

11   particular, of the portable airstairs’ dangerous and defective condition was unexpected and unusual

12   and resulted in Plaintiff’s accident and injuries.

13           67.     On September 5, 2021, Defendants, their agents, servants, and/or contractors’

14   failure to place any type of warning device at or near the subject aircraft door and/or on the walking

15   surface of said portable airstairs was unexpected and unusual and caused Plaintiff’s accident and

16   injuries.

17           68.     Said accident occurred due to the negligence, carelessness and/or recklessness of

18   Defendants, their agents, employees, servants, and/or contractors.

19           69.     As a result of said accident, Plaintiff was injured.

20           70.     As a result of said accident, Plaintiff was seriously injured.
                                                 12
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
               Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 13 of 14




 1           71.     As a result of said accident, Plaintiff was permanently injured.

 2           72.     As a result of said accident, Plaintiff has suffered severe pain, agony, and mental

 3   anguish and in the future will continue to suffer from same.

 4           73.     As a result of said accident, Plaintiff suffered economic loss and will in the future

 5   continue to suffer from same.

 6           74.     As a result of said accident, Plaintiff was deprived of her enjoyment of life, pursuits

 7   and interests and verily believes that in the future she will continue to be deprived of same.

 8           75.     As a result of the foregoing, Defendants are liable to pay full, and fair damages to

 9   Plaintiff pursuant to the Montreal Convention.

10           76.     Pursuant to Article 21 of the Montreal Convention, Defendants cannot limit their

11   damages insofar as they cannot prove their negligence did not cause or contribute to the accident

12   and Plaintiff’s resulting injuries.

13           77.     Pursuant to Article 21 of the Montreal Convention, Defendants cannot limit their

14   damages insofar as they cannot prove Plaintiff’s accident and injuries were caused solely by the

15   acts of third parties who were not Defendants’ agents.

16

17           WHEREFORE, Plaintiff EILEEN VINES, demands judgment against Defendants TURK

18   HAVA YOLLARI ANONIM ORTAKLIGI, d/b/a TURKISH AIRLINES and TURKISH

19   AIRLINES, INC. for the maximum amount permitted by law to be determined at trial, together

20   with interest, costs and disbursements of this action.
                                                  13
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
             Case 3:22-cv-02979-LB Document 1 Filed 05/19/22 Page 14 of 14




 1                                       JURY DEMAND

 2                Plaintiff demands a jury of eight (8) persons for all claims stated.

 3
     Dated: May 19, 2022                         SCHNEBERG LAW P.C.
 4
                                                         -s- Kyle P. Schneberg
 5                                                   By:_____________________
                                                        Kyle P. Schneberg, Esq.
 6                                                      Schneberg Law P.C.
                                                        3828 W. Carson St., Ste. 100
 7                                                      Torrance, CA 90503
                                                        (310) 359-9090
 8
                                                         BOHRER & LUKEMAN
 9

10

11                                                  By:______________________
                                                        Abram I. Bohrer, Esq.
12                                                      David A. Zeitzoff, Esq.
                                                        Bohrer and Lukeman
13                                                      5 Columbus Circle, Suite 1501
                                                        New York, New York 10019
14                                                      (212) 406-4232
                                                        Forthcoming Pro Hac Vice Application
15
                                                         Attorneys for Plaintiff
16

17

18

19

20
                                              14
                              COMPLAINT AND DEMAND FOR JURY TRIAL
